                     Case 1:15-cv-05871-KPF Document 128 Filed 02/06/19 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Southern District
                                             __________  DistrictofofNew York
                                                                      __________


                          Kelly Price,                         )
                             Plaintiff                         )
                                v.                             )      Case No.     1:15-cv-05871-KPF
             Detective Linda Simmons, et al.                   )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Kelly Price                                                                                                  .


Date:          02/06/2019                                                             /s/ Damaris Hernandez
                                                                                         Attorney’s signature


                                                                                        Damaris Hernandez
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